      Case 1:16-cr-00114-ADA-BAM Document 61 Filed 01/02/18 Page 1 of 2


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 8                                        UNITED STATES DISTRICT COURT

 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                          No. 1:16-CR-00114-DAD-BAM-3

12                           Plaintiff,

13             v.                                        PRELIMINARY ORDER OF FORFEITURE

14    GERARDO ANAYA GARCIA,

15                           Defendant.

16

17             Based upon the plea agreement entered into between United States of America and

18    defendant Gerardo Anaya Garcia, it is hereby ORDERED, ADJUDGED AND DECREED as

19    follows:

20             1.       Pursuant to 21 U.S.C. § 853(a), defendant Gerardo Anaya Garcia’s interest in the

21    following property shall be condemned and forfeited to the United States of America, to be

22    disposed of according to law:

23                      a. 12 gauge shotgun,

24                      b. .40 caliber semiautomatic handgun, and

25                      c. Any and all ammunition and magazines.

26             2.       The above-listed assets constitute property derived from, any proceeds the

27    defendant obtained, directly or indirectly, or was property used, or intended to be used, in any

28    manner or part, to commit, or to facilitate the commission of a violation of 21 U.S.C. § 846.
     PRELIMINARY ORDER OF FORFEITURE                     1
      Case 1:16-cr-00114-ADA-BAM Document 61 Filed 01/02/18 Page 2 of 2


 1             3.       Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized

 2    to seize the above-listed property. The aforementioned property shall be seized and held by the

 3    Department of Homeland Security, Customs and Border Protection, or any other duly authorized

 4    law enforcement agency, in its secure custody and control.

 5             4.       a.       Pursuant to 21 U.S.C. § 853(n), and Local Rule 171, the United States shall

 6    publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney

 7    General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

 8    General may direct shall be posted for at least 30 consecutive days on the official internet

 9    government forfeiture site www.forfeiture.gov. The United States may also, to the extent

10    practicable, provide direct written notice to any person known to have alleged an interest in the

11    property that is the subject of the order of forfeiture as a substitute for published notice as to those

12    persons so notified.

13                      b.       This notice shall state that any person, other than the defendant, asserting

14    a legal interest in the above-listed property, must file a petition with the Court within sixty (60)

15    days from the first day of publication of the Notice of Forfeiture posted on the official

16    government forfeiture site, or within thirty (30) days from receipt of direct written notice,

17    whichever is earlier.

18             5.       If a petition is timely filed, upon adjudication of all third-party interests, if any,

19    this Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all

20    interests will be addressed.
21    IT IS SO ORDERED.
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          Dated:       January 2, 2018
23                                                              UNITED STATES DISTRICT JUDGE

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     PRELIMINARY ORDER OF FORFEITURE                        2
